                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


IN RE: CHICAGO BOARD OPTIONS                        MDL No. 2842
EXCHANGE VOLATILITY INDEX                           Case No. 18 C 4171
MANIPULATION ANTITRUST
LITIGATION                                          Hon. Manish S. Shah




 JOINT MEMORANDUM OF PLAINTIFFS AMY HUANG AND ALEX PALATIELLO
 CONCERNING THE APPOINTMENT OF PLAINTIFFS’ COUNSEL, SCHEDULING,
       AND INITIATING DISCOVERY TO IDENTIFY DOE DEFENDANTS




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Dated: July 9, 2018
       Plaintiffs Amy Huang and Alex Palatiello (“Plaintiffs”), by their undersigned counsel,

respectfully submit this joint memorandum to address issues the Court raised concerning class

leadership, scheduling, and discovery. See Doc. Nos. 4, 10. Plaintiffs’ positions are as follows.

       First, concerning “plaintiff Bueno’s motion for appointment as lead plaintiff and

counsel” (Doc. No. 4), Plaintiffs do not take issue with Bueno’s motion insofar as it is limited

solely to organizing the prosecution of the novel claims brought pursuant to the Private

Securities Litigation Reform Act (“PSLRA”). That said, the prosecution of non-PSLRA claims

should be litigated by counsel other than PSLRA “lead counsel.” Instead, the Court should

appoint separate “interim class counsel” pursuant to Federal Rule of Civil Procedure 23(g) to

prosecute non-PSLRA claims, including those brought pursuant to the Commodity Exchange

Act (“CEA”), the Sherman Act, and the common law. Our proposal for the process to organize

plaintiffs and their counsel is discussed below in Section I.

       Second, concerning “deadlines for served defendants to respond to (one or more)

complaints” (id.), Plaintiffs respectfully suggest that any such deadlines be adjourned sine die.

The Court should first establish this litigation’s structure and appoint plaintiffs’ counsel to

leadership positions within that structure to represent the different plaintiff subgroups. Court-

appointed counsel would then draft the operative consolidated pleadings to which Defendants

would be required to respond. Our proposed schedule is discussed below in Section II.

       Third, concerning “discovery to identify Doe defendants” (id.), Plaintiffs believe the

pursuit of such discovery should be left to the firms appointed by the Court to lead the MDL,

who should proceed expeditiously once appointed. This is also addressed below in Section II.

I.     Organizing all plaintiffs’ claims will determine how to best organize their counsel.

       This litigation centers on the VIX, a widely-tracked financial volatility index created and

calculated by the Chicago Board Options Exchange (“CBOE”), measuring the 30-day implied
volatility of the stock market. While the VIX is not a security itself, financial products such as

VIX futures contracts and options are directly linked to the index. A critical input to the formula

for the VIX is pricing data for S&P 500 index options (“SPX options”). A key allegation in this

MDL is that certain SPX options traders triggered deviations in the VIX by causing artificial

movements in SPX options.1

        Manipulating the VIX this way allegedly injured investors in VIX futures, VIX options,

a variety of volatility-related exchange-traded notes and funds (“ETNs/ETFs”), and/or SPX

options. These different financial products give rise to different claims. For instance, SPX

options are subject to the Securities Exchange Act and Securities and Exchange Commission

regulations, see 15 U.S.C.§§ 78a et seq.; investors may choose to assert securities and/or

antitrust claims, but not CEA claims. VIX futures, as exchange traded futures contracts, are

subject to the CEA and Commodity Futures Trading Commission regulations, see 7 U.S.C. §§1,

et seq.; investors may choose to assert CEA and/or antitrust claims, but not securities claims.

        In organizing a multidistrict litigation, “there is a fine line in an MDL between

establishing (a) an organizational structure that promotes the efficient delegation of work, and

(b) an elaborate inter-firm bureaucracy that impedes progress and generates fees.” In re Navistar

MaxxForce Engines Mktg., Sales Practices & Prods. Liab. Litig., No. 14-CV-10318, 2015 WL

1216318, at *2 (N.D. Ill. Mar. 5, 2015) (Gottschall, J.). The “most important” factor is

“achieving efficiency and economy without jeopardizing fairness to the parties.” Manual for

Complex Litigation (Fourth) § 10.221. Fairness in this context requires independent counsel to

protect different groups of plaintiffs bringing different types of claims. Maintaining separate

1
  Most actions name manipulating traders as “Doe” defendants; three actions name specific entities,
primarily SPX option market makers, as defendants. More than half the actions name CBOE and related
entities as defendants, generally alleging they were woefully derelict in their responsibilities by allowing
(and substantially profiting from) the rampant, long-term manipulation of the VIX. See Exhibit A.


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putative classes from the outset of litigation is warranted when the “classes may be differently

positioned at various stages of the litigation, creating a potential conflict in their joint

representation.” In re LIBOR-Based Fin. Instruments Antitrust Litig., No. 11 MD 2262, 2011

WL 5007957, at *2 (S.D.N.Y. Oct. 18, 2011); see also Deangelis v. Corzine, 286 F.R.D. 220,

222, 224 (S.D.N.Y. 2012) (appointing interim class counsel for “federal commodities laws”

claims after appointing lead counsel for “claims asserted . . . under federal securities laws”).

        PSLRA plaintiffs (Bueno and Burnell) are differently positioned from non-PSLRA

plaintiffs (those in all 20 other actions) in important ways. Critically, non-PSLRA plaintiffs

need not prove scienter or meet the heightened pleading standards applicable to securities fraud

claims. See, e.g., 15 U.S.C. § 78u-4(b)(1)-(2) (requiring heightened pleading for scienter and

other allegations). Unitary representation of PSLRA and non-PSLRA plaintiffs alike would

necessarily require attorney time, expert work, and pages of briefing to support the merits of

securities fraud claims, shifting resources away from the non-PSLRA claims that all of the other

plaintiffs chose to bring.2

        PSLRA and non-PSLRA claims differ in other ways as well. PSLRA claims are subject

to a mandatory discovery stay (15 U.S.C. § 78u–4(b)(3)(B)). Appointment of a PSLRA “lead

plaintiff” is based in part on which applicant has the “largest financial interest” (15 U.S.C.

§ 78u–4(a)(3)(B)(iii)(I)(bb)), whereas interim lead counsel in non-PSLRA cases select from

among the plaintiffs the most qualified class representatives. Under the PSLRA, lead plaintiff

selects and retains counsel (15 U.S.C. § 78u–4(a)(3)(B)(v)), whereas appointment of interim
2
  “Unitary representation of separate classes that claim distinct, competing, and conflicting relief create
unacceptable incentives for counsel to trade benefits to one class for benefits to the other in order
somehow to reach a settlement.” In re Payment Card Interchange Fee and Merchant Discount Antitrust
Litig., 827 F.3d 223, 234 (2d Cir. 2016) (finding “clear” conflict where plaintiff subgroups sought
different relief); see also In re Literary Works in Elec. Databases Copyright Litig., 654 F.3d 242, 252 (2d
Cir. 2011) (“Only the creation of [separate] classes, and the advocacy of an attorney representing each
[]class, can ensure that the interests of that particular subgroup are in fact adequately represented.”).


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class counsel under Fed. R. Civ. P. 23(g) requires courts to consider, among other things, the

role of counsel in developing the case and the experience and expertise of counsel. There may

also be relevant differences in available attorneys’ fees. See, e.g., Masters v. Wilhelmina Model

Agency, Inc., 473 F.3d 423, 437 (2d Cir. 2007) (noting that the “fee restrictions described in the

PSLRA do not apply in any context other than securities actions, and, even if they did, it is not

clear how they would apply”).3

        Given the overlap among plaintiffs and potential claims, organizing the MDL based

strictly by type of claim or product purchased would be inefficient; it could potentially require

four or more sets of lawyers (e.g., for securities, CEA, antitrust, and common law claims).

Accordingly, Plaintiffs propose a simpler, hybrid approach, whereby PSLRA claims would be

consolidated into a single complaint and prosecuted by PSLRA “lead counsel,” and non-PSLRA

claims (CEA, antitrust, and common law) would likewise be consolidated in a separate

complaint and litigated by interim class counsel appointed pursuant to Fed. R. Civ. P. 23(g).4

        The consolidated actions would be coordinated. This comports with 28 U.S.C. § 1407.

Coordination between lead counsel for the PSLRA claims and interim class counsel for non-

PSLRA claims with respect to scheduling, discovery, and other common issues should be

sufficient to achieve efficiency and economy, without a bloated bureaucracy of counsel.

        Plaintiffs also respectfully suggest that at the conclusion of the July 11 conference, the

Court should provide guidance on what leadership structure it prefers (concerning, e.g., whether

the Court prefers a co-lead or steering committee structure, whether the Court believes liaison

3
  There is also a tail-wagging-the-dog quality to the notion that PSLRA “lead counsel” might secure
leadership for the MDL as a whole by bringing securities fraud claims that virtually all other counsel
affirmatively elected not to pursue.
4
 CEA and Sherman Act claims are regularly included in the same consolidated pleading. See, e.g., In re
Dairy Farmers of Am., Inc. Cheese Antitrust Litig., 2013 WL 212908 (N.D. Ill. Jan. 18, 2013); In re
Platinum & Palladium Antitrust Litig., 2017 WL 1169626 (S.D.N.Y. Mar. 28, 2017).


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counsel is necessary, whether one or more committees serving at interim class counsel’s

direction is advisable), so leadership applications can be tailored accordingly. While Plaintiffs

anticipate that other plaintiffs’ submissions may propose a two-step process, with a separate

round of briefing on the structural issue as a precursor to actually applying for leadership

positions, Plaintiffs here respectfully submit that no such additional briefing is needed. By the

end of the July 11 hearing, the Court will have had the benefit of multiple written submissions

and the in-person input of plaintiffs’ counsel. Additional briefing will only lengthen this process

and needlessly defer the affirmative prosecution of these actions.

       For our part, Plaintiffs suggest a small co-lead interim class counsel structure to lead the

case, which can be potentially expanded by adding a small committee of firms depending on the

needs of the case (e.g., if discovery revealed a large number of “Doe” defendants).

II.    The Court should set a schedule to address leadership and “Doe” discovery, and
       subsequently set due dates for consolidated complaints and motions to dismiss.

       Plaintiffs propose that the Court set a due date of July 20, 2018 for interim class counsel

applications (15-page maximum). Within 14 days of leadership appointments, interim class

counsel and lead counsel should jointly (i) circulate to all parties drafts of a protective order and

ESI protocol, and (ii) serve CBOE with requests for production focused on discovering Doe

defendants. Written responses and objections or any application for a protective order should

occur on an expedited basis. A proposed order is included as Exhibit B and is being submitted to

Proposed_Order_Shah@ilnd.uscourts.gov. Plaintiffs further suggest that the Court schedule

dates for consolidated complaints and motions to dismiss after “Doe” discovery issues are

resolved, to give plaintiffs’ class counsel sufficient time to incorporate any discovery obtained

into consolidated pleadings.




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Dated: July 9, 2018   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2018, a true and correct copy of the foregoing was filed

with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.



                                                     /s/ Adam J. Levitt
                                                     Adam J. Levitt




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